UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JOSHUA TOUSIGNANT and )
HEATHER WELSCH, individually and on )
behalf of all those similarly situated, )
)
Plaintiffs, )

) Civ. A. No. 1:18-cv-10439-RGS
v. )
)
SCHNEIDER ELECTRIC USA, INC., )
)
Defendant. )
ORDER

Plaintiffs have filed an assented-to motion for preliminary settlement approval pursuant
to Federal Rule of Civil Procedure 23(e) (the “Motion”). In the Motion, Plaintiffs request an
order preliminarily approving the settlement of the above-captioned action on a class basis in
accordance with the parties’ settlement agreement (the “Agreement’”), which sets forth the terms
and conditions for a proposed settlement of this matter and its dismissal with prejudice. Having
reviewed the Motion, the Agreement, and after conducting a preliminary approval hearing, the
Court hereby FINDS and ORDERS that:

1. The terms defined in the Agreement, which was attached as Exhibit 2 to the
Motion, are hereby incorporated by reference. All capitalized terms shall have the same meaning
as those used in the Agreement, unless otherwise specified.

2. This Court has jurisdiction over the subject matter of the Litigation and all parties
in this proceeding, including the administration of the Parties’ proposed settlement and all

members of the Class.
3. The Court authorizes Plaintiffs to file their proposed Third Amended Class and

Collective Action Complaint (the “Third Amended Complaint”), which was attached as Exhibit

 

1 to the Motion. Plaintiffs are hereby directed to file the Third Amended Complaint within two
business days of this Order.

4, Pursuant to 29 U.S.C. § 216(b) and Federal Rule of Civil Procedure 23(b)(3), the
Court hereby certifies following Class on a preliminary basis and for purposes of settlement
only: all individuals who have been employed by Defendant in the United States as distribution
warehouse associates during the period February 20, 2016 through March 28, 2019. All Class
Members shall have the right to exclude themselves from the settlement by way of the opt-out
procedure set forth in the Notice which was attached to the Motion as Exhibit 3.

5. This Court preliminarily finds, solely for purposes of settlement, that the
Litigation may be maintained as a class action on behalf of the Class because: (a) the Class is so
numerous that joinder of all Class Members is impracticable; (b) there are questions of law and
fact common to the Class Members that predominate over individual questions; (c) Plaintiffs’
claims are typical of the claims of the Class; (d) Plaintiffs and their counsel will fairly and
adequately represent and protect the interests of the Class; and (e) settlement on a class basis is
superior to other available methods for the fair and efficient adjudication of the Litigation.

6. This Court finds that the Agreement is fair, reasonable, and adequate, and within
the range of possible approval, subject to further consideration at a final fairness hearing as set
forth below. Accordingly, the Court grants preliminary approval of the settlement.

7. This Court preliminarily finds that Plaintiffs will fairly and adequately represent
the interests of the Class and, therefore, designates Plaintiffs as the representatives of the Class.

Pursuant to Federal Rule of Civil Procedure 23(g), this Court designates Seirge Lemberg of the
law firm Lemberg Law, L.L.C., and Hillary Schwab of the law firm Fair Work P.C. as counsel
for the Class. This Court authorizes Plaintiffs and Plaintiffs’ Counsel to enter into the Agreement
on behalf of the Settlement Class, subject to final approval by this Court of the settlement.
Plaintiffs and Plaintiffs’ Counsel, on behalf of the Class, are authorized to take all appropriate
action required or permitted to be taken by the Class pursuant to the Agreement to effectuate its
terms.

8. This Court finds that the Notice satisfies the requirements of due process, the
Federal Rules of Civil Procedure, and constitutes the best notice practicable under the
circumstances. The Court approves the form and content of the Notice and authorizes the Parties
to issue Notice in the manner set forth in the Agreement.

9. The final fairness and approval hearing shall take place before the Honorable
Richard G. Stearns on _/ l - Zz - 201 q ; at 6:00 pm at the United States District
Court, District of Massachusetts, Courtroomgl], located at 1 Courthouse Way in Boston,
Massachusetts 02210. At that hearing, the Court shall determine whether the proposed settlement
of the Litigation on the terms and conditions provided for in the Agreement is fair, reasonable,
and adequate as to the Class Members and should be approved; whether the Litigation should be
dismissed with prejudice on the terms provided for in the Agreement; the amount of fees and
costs that should be awarded to Plaintiffs’ Counsel; and the amount of the incentive award that
should be awarded, as provided for in the Agreement. The Court will also hear and consider any
properly lodged objections at that time.

10. This matter shall be stayed (including Defendant’s obligation to answer the Third

Amended Complaint) pending further order of the Court.

 

' This date is more than 120-days after the notifications to federal and state officials as required by 28 U.S.C. §
1715(d).
ENTERED this [ Hh of , 2019.

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The Honorable Richard G, Stearns
